                Case 24-21209-LMI              Doc 174        Filed 01/26/25        Page 1 of 18




                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION
                                      www.flsb.uscourts.gov


 In re:                                                         Chapter 11

 SHIFTPIXY, INC. et, al. 1                                      Case No. 24-21209-LMI

       Debtors.                                                 (Jointly Administered)
 _______________________________/

          FIRST SUPPLEMENT TO FIRST AND FINAL FEE APPLICATION FOR
          ALLOWANCE AND PAYMENT OF COMPENSATION FOR JONATHAN
              FELDMAN IN HIS CAPACITY AS CHIEF RESTRUCTURING
                    OFFICER FOR THE CHAPTER 11 DEBTORS

    1. Name of Applicant:                                       Jonathan Feldman

    2. Role of Applicant:                                       Chief Restructuring Officer

    3. Name of Certifying Professional:                         Jonathan Feldman

    4. Date Case(s) Filed:                                      October 28, 2024

    5. Date of Retention Order:                                 November 27, 2024 [ECF No. 88]

    6. Period for this Application:                             December 16, 2024 to January 26, 2025

    7. Amount of Compensation Sought:                           $12,000

    8. Amount of Expense Reimbursement:                         $30,933.96

    9. Holdbacks from prior free applications                   -0-

    10. Total Amount of Compensation Sought                     $30,000 (first application)
        During Case:                                            $12,000 (second application)

    11. Total Amount of Expense Reimbursement                   $30,933.96
        Sought During Case



1 The Debtors are: (i) Shiftpixy, Inc.; (ii) Shiftpixy Staffing, Inc.; and (iii) ReThink Human Capital Management, Inc.
The address of the Debtors is 1401 NW 25th Street, Miami, FL 33142.
          Case 24-21209-LMI         Doc 174        Filed 01/26/25   Page 2 of 18




12. Total Amount of Fees Awarded
    During Case:                                    $30,000

13. Total Amount of Expenses Awarded
    During Case:                                    -0-

14. Amount of Original Retainer:                    -0-

15. Current Balance of Retainer Remaining:          N/A

16. Last monthly operating report filed:            December monthly operating report was
                                                    Filed on January 24, 2025
17. If case is Chapter 11, current funds in
    Chapter 11 estate:                              The ending balance on January 24, 2025, in
                                                    the Debtor’s DIP account (and other accounts
                                                    permitted to be used) was $415,025.95

18. If case is Chapter 7, current funds held        N/A
    by Chapter 7 trustee:




                                               2
                Case 24-21209-LMI              Doc 174        Filed 01/26/25        Page 3 of 18




                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION
                                      www.flsb.uscourts.gov


 In re:                                                         Chapter 11

 SHIFTPIXY, INC. et, al. 2                                      Case No. 24-21209-LMI

       Debtors.                                                 (Jointly Administered)
 _______________________________/

          FIRST SUPPLEMENT TO FIRST AND FINAL FEE APPLICATION FOR
          ALLOWANCE AND PAYMENT OF COMPENSATION FOR JONATHAN
          FELDMAN IN HIS CAPACITY AS CHIEF RESTRUCTURING OFFICER
                        FOR THE CHAPTER 11 DEBTORS

          Jonathan Feldman, Chief Restructuring Officer for Shiftpixy, Inc., Shiftpixy Staffing, Inc.,

and ReThink Human Capital Management, Inc. (collectively, the “Debtors”) files his first

supplement to the First and Final Fee Application for Allowance and Payment of Compensation

for Jonathan Feldman in his Capacity as Chief Restructuring Officer for the Chapter 11 Debtors

and seeks approval and allowance for supplemental fees and costs incurred for the period of

December 16, 2024 through January 26, 2024 (the “Application Period”). This application is filed

pursuant this Court’s Order Granting Application For Compensation [ECF No. 142] and 11 U.S.C.

§§ 330 and 331, Bankruptcy Rule 2016, and Local Rule 2016-1 (B)(3) and meets all the

requirements set forth In the Guidelines for Fee Applications for Professionals in the Southern

District of Florida in Bankruptcy Cases (“Fee Guidelines”) incorporated in Local Rule 2016-

1(B)(3)(a).




2 The Debtors are: (i) Shiftpixy, Inc.; (ii) Shiftpixy Staffing, Inc.; and (iii) ReThink Human Capital Management, Inc.
The address of the Debtors is 1401 NW 25th Street, Miami, FL 33142.


                                                          3
              Case 24-21209-LMI          Doc 174       Filed 01/26/25     Page 4 of 18




                                         INTRODUCTION

        This case was filed on October 28, 2024. On October 30, 2024, my counsel filed the

Application to Employ Jonathan Feldman as Chief Restructuring Officer to October 28, 2024 and

on November 27, 2024 the Court entered the Order Granting Debtor-in-Possession’s Application

to Employ Isaac M. Marcushamer and the Law Firm of DGIM Lw, PLLC as Counsel Retroactive

to October 28, 2024 [ECF No. 88] (“Retention Order”).

        The Debtors’ core business is a human capital management platform that provides a full

suite of personnel staffing services to its clients. For a more detailed description of the Debtor’s

business see Declaration of Jonathan Feldman in Support of Chapter 11 Petitions and First Day

Pleadings [ECF No. 16] (the “Declaration”).

        The reasons for filing for Chapter 11 bankruptcy relief are discussed in my Declaration.

My core goal was to sell the ongoing business assets of the Debtors as soon as practicable. Those

auctions have occurred. With respect to the sale of the physical personal property, the auction

process has been completed with all funds collected. With respect to the sale of the intellectual

property, including intangible assets, that sale has closed and at this point, the parties are addressing

various post-closing issues.

        The exhibits attached to this supplement, pursuant to the Guidelines, are:

        Exhibits 1 – Fee Application Summary Chart

        Exhibit 2 – Summary of Professional Time

        Exhibit 3 – Applicant’s complete time records for the period covered by this Application.
        The requested fees are itemized to the tenth of an hour.

        Exhibit 4 –Expense Reimbursement requested and applicable invoice




                                                   4
              Case 24-21209-LMI         Doc 174       Filed 01/26/25   Page 5 of 18




       I.      RETENTION OF APPLICANT, DISCLOSURE OF COMPENSATION
               AND REQUESTED AWARD

       Pursuant to the Retention Order, I was retained to act as chief restructuring officer for the

Debtors. The Retention Order provides that my services in this matter will be billed at $500 per

hour with a cap on my overall compensation of $15,000 a month.

       As set forth in this Application, I am seeking a supplemental award of $12,000 in fees and

$30,933.96 in reimbursable expenses incurred for the supplemental period.         The supplemental

period included several days in which any hourly time exceeded the $15,000 cap, thus, that time

is not billable and I am not seeking payment for such time in this supplemental request.

       The expenses that are the subject to this application are for Lawgical Insight, a third-party

vendor that I retained to make copies of the Debtors’ electronically stored information. I believe

it is imperative that any chapter 7 trustee have access to such data to facilitate a complete review

of the Debtors’ pre-petition activities and determine whether certain litigation claims should be

pursued. The cost of this exercise - $30,933.96 – is meaningful because the amount of data that

needed to be reviewed and copied was substantial.

       The amount of fees I am seeking in this Application is reasonable considering the nature,

extent, and the value of the services I provided, taking into account all relevant factors enumerated

in Johnson v. Georgia Highway Express, Inc., 488 F.2d 714 (5th Circuit 1974), made applicable

to bankruptcy proceedings by In re First Colonial Corp. of America, 554 F.2d 1291 (5th Circuit

1977). The relevant factors enumerated in Johnson are as follows:

       A.      Time and Labor Required:

       The attached exhibits illustrate the time and labor required for this period of 27.9 hours.

Several hours of time are not billable to the estate because they are attributable to the $15,000 cap


                                                  5
              Case 24-21209-LMI         Doc 174       Filed 01/26/25    Page 6 of 18




I have agreed to for each thirty-day period. For the billable hours, my average hourly rate is $500

per hour. Nonetheless, the time expended by me for professional services furnished to the Debtors

does not reflect and cannot reflect all the time expended. Many telephone calls, routine

correspondence, requests by parties in interest regarding the status of the case and their individual

claims cannot be reduced to time recordation and would increase the amount of time expended by

me. The foregoing summary, together with the exhibits, details the time, nature, and extent of the

professional services the Applicant rendered for the benefit of the Debtor during the period covered

by this Application.

       B.      Novelty and Difficulty of Questions Presented:

       This case presented novel and difficult issues that require substantive legal knowledge in

the fields of corporate law, bankruptcy, and bankruptcy litigation.          There were significant

operational difficulties that arose on a daily, if not sometimes, hourly, basis. In several instances,

we had to give serious consideration to potential conversion to chapter 7 which would have

material negative consequences for all creditors. Operating the business while simultaneously

overseeing an auction process was particularly challenging. Ultimately, we were able to complete

a successful auction of the Debtors’ assets and there is now a potential pathway to make a

meaningful distribution to creditors.

       C.       Skill Requisite to Perform Services Properly.

       In rendering services to the Debtor, I believe I demonstrated the skills and expertise

expected of me by this Court and the various constituents in matters of this type.




                                                  6
                  Case 24-21209-LMI      Doc 174       Filed 01/26/25   Page 7 of 18




        D.        Preclusion from Other Employment Due to Acceptance of Case.

        I operate a small law firm in which I am the only practicing attorney. In taking on this

matter, it precluded me from handling other hourly matters in which I could have realized a higher

billing rate.

        E.        Customary Fee.

        My effective hourly rate is lower that what I bill clients in other bankruptcy cases. This

Court has approved these rates, as have other courts within this district, in other bankruptcy matters

in which I, or other counsel of like reputation and experience have been involved.

        F.        Whether Fee is Fixed or Contingent.

        My compensation in this matter is subject to approval of the Court and therefore

contingent. The Court should consider this factor, which militates in favor of a fee award in the

amount requested. The amount requested is based on a fixed hourly rate is lower than what I

charge other clients in non-contingent, bankruptcy or commercial cases. The effective rate

charged by me is within the range charged by attorneys and other professional in the Southern

District of Florida of similar skill and reputation in the areas of bankruptcy and commercial law.

        G.        Time Limitations Imposed by Client or Other Circumstances.

        This case has required me to spend significant time in representing the Debtor, resolving

complex issues and directing a successful sales effort.

        H.       Experience, Reputation and Ability of Attorneys.

        I have meaningful experience in bankruptcy, commercial law and litigation.

        I.      The Undesirability of the Case.

        This case was not undesirable. It has been a point of personal pride to serve and preserve

the value of the Debtors’ assets and jobs.



                                                   7
              Case 24-21209-LMI         Doc 174       Filed 01/26/25   Page 8 of 18




       J. Awards in Similar Cases.

       The amount requested by me is reasonable in comparison with awards in cases of similar

magnitude and complexity.       The compensation I seek comports with the mandate of the

Bankruptcy Code, which directs those services be evaluated considering comparable services

performed in non-bankruptcy cases in the community.

II.    DESCRIPTION AND SUMMARY OF SERVICES PERFORMED

       The description of my services are set forth in the attached Exhibits.

III.   CASE BACKGROUND

       1.      On October 28, 2024 (the “Petition Date”), the Debtors commenced these Cases by

filing petitions for relief under chapter 11 of the Bankruptcy Code.

       2.      The Debtors continue to manage and operate their business as debtors in possession

pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

       3.      To date, no request has been made for the appointment of a trustee or examiner, or

committee.

       4.      A detailed description of the Debtors, including their business operations, their

corporate and capital structure, the events leading to the commencement of these Cases, and the

facts and circumstances supporting this Application are set forth in greater detail in my Declaration

             RELEVANT BACKGROUND AND PROPOSED SALE PROCESS

       5.      The Debtors commenced these Cases to effectuate an orderly sale of the Debtors’

operations and to liquidate their assets in a value-maximizing manner for the benefit of their

creditors. The Debtors and their stakeholders hope to swiftly move through these Cases in an

effort to minimize administrative expenses and maximize recoveries for stakeholders.




                                                  8
              Case 24-21209-LMI         Doc 174       Filed 01/26/25    Page 9 of 18




                              Filing of the Debtor’s Chapter 11 Case

       6.      On October 28, 2024, the Debtors filed a voluntary petition for relief under the

Bankruptcy Code. The Chapter 11 cases are pending in the Bankruptcy Court in Southern District

of Florida, Miami Division.

                          Significant Events During the Bankruptcy Case

       For a detailed case background please refer to the First and Final Fee Application for

Allowance and Payment of Compensation and Reimbursement of Expenses for the Law Firm of

DGIM Law, PLLC as Counsel for the Chapter 11 Debtors [ECF No. 114].

       IV.     CONCLUSION

       As set forth above and in the attached exhibits in detail, I have provided substantial and

valuable services to the Debtors during the Application Period. Based on the above and the

standards set forth in section 330 of the Bankruptcy Code and First Colonial, I believe the fees

sought herein for such valuable services are reasonable. For this reason and the reasons set forth

in this Application, Applicant seeks (i) a final award of $12,000 in fees for services rendered during

the Application Period.

       WHEREFORE, I request entry of an Order (i) granting the First and Final Fee Application

on a final basis, (ii) a final award of fees of $12,000 and expenses of $30,933.96 and (iii) granting

such other and further relief as the Court deems appropriate.

       Dated January 26, 2025.


                                                       /s/Jonathan S. Feldman
                                                       Jonathan S. Feldman
                                                       feldman@katiephang.com




                                                  9
               Case 24-21209-LMI      Doc 174        Filed 01/26/25   Page 10 of 18




                                       CERTIFICATION

       1.       I, Jonathan Feldman, have been designated with responsibility in this case for

compliance with the “Guidelines for Fees Applications for Professionals in the Southern District

of Florida Bankruptcy Cases (the “Guidelines”).

       2.       I have read my application for compensation and reimbursement of expenses (the

“Application”). The application complies with the Guidelines, and the fees and expenses sought

fall within the Guidelines, except as specifically noted in this certification and described in the

application.

       3.       The fees and expenses sought are billed at rates and in accordance with practices

customarily employed by me and generally accepted by my clients.

       4.       The following are the variances with the provisions of the Guidelines, the date of

each court order approving the variance, and the justification for the variance: None

       Dated January 26, 2025.



                                                       /s/ Jonathan S. Feldman
                                                       Jonathan S. Feldman
                                                       feldman@katiephang.com




                                                10
           Case 24-21209-LMI      Doc 174        Filed 01/26/25   Page 11 of 18




                                     EXHIBIT 1

                         Fee Application Summary Chart


Date       Amount of   Amount       Fees             Expenses     Holdbacks Payments
Filed      Fees        of           Awarded          Awarded                Received
                       Expenses
12/13/24   $30,000     $0.00        $30,000          N/A          N/A        $30,000




                                            11
          Case 24-21209-LMI     Doc 174        Filed 01/26/25    Page 12 of 18




                                    EXHIBIT 2

                 Summary of Professional and Paraprofessional Time
                     Total per Individual for this Period Only



Name                   Year     Total          Average     Fee
                       Licensed Hours          Hourly
                                               Rate

Jonathan S. Feldman    2005      27.9          $500        $12,000
TOTAL                            27.9                      $12,000

Blended Average Hourly Rate:            $500




                                          12
Case 24-21209-LMI   Doc 174        Filed 01/26/25   Page 13 of 18




                       EXHIBIT 3




                              13
               Case 24-21209-LMI            Doc 174        Filed 01/26/25       Page 14 of 18




                                                                                              INVOICE
                                                                                                    Invoice # 602
                                                                                                 Date: 01/26/2025
2 South Biscayne Boulevard
Miami, Florida 33131


Shiftpixy

Shiftpixy - CRO matter / 00001

CRO matter

    Date      Attorney                          Notes                          Quantity   Rate         Total

 12/16/2024   JF         Hearing and operational issues                            1.00     $0.00         $0.00

 12/17/2024   JF         Address remaining operational issues and issues for       1.20     $0.00         $0.00
                         Del Taco

 12/23/2024   JF         Address SSA issues                                        1.70     $0.00         $0.00

 12/30/2024   JF         Address various operational issues                        1.00   $500.00       $500.00

 12/31/2024   JF         Address status items and call with counsel and tax        1.50   $500.00       $750.00
                         employees

 01/01/2025   JF         Address various status items                              2.50   $500.00     $1,250.00

 01/02/2025   JF         Address operational issues                                2.50   $500.00     $1,250.00

 01/03/2025   JF         Address operational issues                                1.00   $500.00       $500.00

 01/06/2025   JF         Resolve SSA/Del Taco items; review pending items          1.00   $500.00       $500.00
                         for handover

 01/07/2025   JF         Address operational issues and 401k                       2.00   $500.00     $1,000.00

 01/08/2025   JF         Prepare for and attend hearing                            2.00   $500.00     $1,000.00

 01/09/2025   JF         Approve payments and review closeout items                1.10   $500.00       $550.00

 01/10/2025   JF         Address various closeout issues                           1.20   $500.00       $600.00

 01/14/2025   JF         Address various close out items                           1.00   $500.00       $500.00

 01/16/2025   JF         Address issues re 401k termination                        0.70   $500.00       $350.00

 01/20/2025   JF         Closeout issues for handover to ch. 7 trustee             2.50   $500.00     $1,250.00

 01/21/2025   JF         Revise MOR                                                1.50   $500.00       $750.00

 01/23/2025   JF         Address closeout issues                                   1.00   $500.00       $500.00




                                                   Page 1 of 2
               Case 24-21209-LMI              Doc 174       Filed 01/26/25         Page 15 of 18




 01/24/2025   JF          Revise MOR                                                  1.50    $500.00        $750.00

                                                                                Quantity Subtotal                  27.9



                   Time Keeper                            Quantity                   Rate                  Total

 Jonathan Feldman                                                     24.0                  $500.00        $12,000.00

 Jonathan Feldman                                                      3.9                    $0.00             $0.00

                                                                                    Quantity Total                 27.9

                                                                                          Subtotal         $12,000.00

                                                                                              Total        $12,000.00




Detailed Statement of Account

 Current Invoice

    Invoice Number             Due On          Amount Due             Payments Received               Balance Due

 602                         01/26/2025             $12,000.00                           $0.00             $12,000.00

                                                                             Outstanding Balance           $12,000.00

                                                                      Total Amount Outstanding             $12,000.00




Please make all amounts payable to: Phang & Feldman, P.A.

Should you wish to pay via credit card, please click on the link below: https://secure.lawpay.com/pages/
katiesphangpa/operating

Payment is due upon receipt.




                                                     Page 2 of 2
Case 24-21209-LMI   Doc 174        Filed 01/26/25   Page 16 of 18




                       EXHIBIT 4




                              14
                    Case 24-21209-LMI                 Doc 174    Filed 01/26/25    Page 17 of 18




Invoice
Invoice# INV-211109

Balance Due
                                                                                                  Lawgical Insight, LLC
$30,933.96
                                                                                                  2 South Biscayne Blvd
                                                                                                             Suite 1600
                                                                                                    Miami Florida 33131



Invoice Date :                    December 20, 2024

Terms :                           Net 30
                                                                            Bill To
Due Date :                        January 19, 2025                          ShiftPixy, Inc.
                                                                            4101 NW 25th Street
Responsible Attorney :            Jonathan Feldman                          Miami, Florida 33142



  #    Item & Description                                            Qty       Rate    Discount              Amount

  1    Collection - Bulk Cloud Infrastructure                        1.00   9,500.00     12.00%               8,360.00
                                                                  Domain

  2    Data Indexed/Active Storage                              85,000.00      1.00      75.00%              21,250.00
       Temporary, short-term storage prior to transfer to             GB
       Bankruptcy.




  #    Task & Description                                         Hours        Rate    Discount              Amount

  3    Consulting - Digital Forensics / Reports (Daniel              0.50    295.00      12.00%                129.80
       Thompson, eDEx)
       November 04, 2024 : Confer with IT manager, Suarez, to
       retrieve LastPass and domain host credentials.


  4    Consulting - Digital Forensics / Reports (Daniel              0.50    295.00      12.00%                129.80
       Thompson, eDEx)
       November 05, 2024 : Confer with IT Manager, I. Suarez
       to identify DreamHost domain credentials and transfer
       of credentials to Lawgical Insight via LastPass.


  5    Consulting - Digital Forensics / Reports (Daniel              1.00    295.00      12.00%                259.60
       Thompson, eDEx)
       December 10, 2024 : Assess O365 digital footprint for
       backup and preservation.


  6    Consulting - Digital Forensics / Reports (Daniel              1.00    295.00      12.00%                259.60
       Thompson, eDEx)
       December 11, 2024 : Assess and confirm current
       ShiftPixy digital assets and data size. Provide cost
       estimates for storage.




                                                                                                                         1
                       Case 24-21209-LMI                Doc 174          Filed 01/26/25           Page 18 of 18


   #     Task & Description                                               Hours             Rate        Discount                    Amount

   7     Consulting - Digital Forensics / Reports (Daniel                    0.50         295.00          12.00%                          129.80
         Thompson, eDEx)
         December 11, 2024 : Confer with IT manager, I. Suarez
         to facilitate administrative access to additional company
         accounts for ESI preservation.


   8     Consulting - Digital Forensics / Reports (Daniel                    0.30         295.00          12.00%                           77.88
         Thompson, eDEx)
         December 12, 2024 : Confer with IT manager, I. Suarez
         to facilitate elevated access to digital communication
         platforms.


   9     Consulting - Digital Forensics / Reports (Daniel                    1.30         295.00          12.00%                          337.48
         Thompson, eDEx)
         December 12, 2024 : Meet with IT manager, I. Suarez to
         inspect on-site server and assess data preservation
         options.


                                                                                            Sub Total                               30,933.96

                                                                                                Total                             $30,933.96


                                                                                       Balance Due                                $30,933.96




Notes
*This invoice is an attempt to remain within the initial estimate for services. The data footprint significantly exceeds the originally
anticipated 15TB of data. Currently, the footprint is approximately 85TB.


Payment Options

WIRE INSTRUCTIONS
Receiving Bank Name: Chase Receiving Bank Address: 150 SE 2nd Ave Miami, FL 33131 Receiving Account Name: Lawgical Insight, LLC SWI
FT Code: CHASUS33
Wire Routing # (Domestic): 021000021
ACH Routing # 267084131
Receiving Bank Account #: 300559025



Terms & Conditions
Please remit payment via Wire, Credit Card or Check.




                                                                                                                                                   2
